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APPENDIX 9
State of Califoriigase 2:90-cv-00520-KJM-SCR Document 3042-6  Fitshantvenbei@orreqiagg-and Revabilitation:

Memorandum
Date? July 22,2008
To All Inraté-Patients

‘Sublect: NEW HEALTH GARE APPEALS PROCESS ~.CORRECTED VERSION

jor t alifornia “Bepartme
appeals ‘process, In ar. effort

5, the Office of the F will -ags
ans 1 care: related appeals. This will jnclude ‘SGeipt,
tracking,. : onge to atid ‘reporting Of all health care appeals effective
Auiglist 1; 2008,

Following is a list of changes that will affect you:

‘A new health care.
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‘and lg pink in color (copy attache

ppeal form has been: approved and shall be: made
nts. This new form isa CDCR Forny 602-HC.

oi 3 19
the ean CDG Form. 6
‘Disability. Act (ADA):appea

«: All appeals regarding
‘Health Care Appea

ith cafe issues shall.be submitted directly to the

. All ADA# ‘appeals;

, Box 4038
“Sacramento, CA 95814-4038

* EDO 1617 (3189)
Case 2:90-cv-00520-KJM-SCR Document 3042-6 Filed 09/16/08 Page 3of5

Al inmate-patients
Page 2

If you have. @ health care telated appeal that was submitted: prior to:
August 1, 2008, it will continue to- be processed“ uritil ‘co é ‘through the:
existiig process: Ther is. no need to re-submit the issue using &

CDC Fort 602-HC (pink copy:)

Thankyou in advance for your coo ny queetions,f please

contact the Healt CE

ééto Director (A)
Bhidee of Adult: institutions Plata Fiéld-Support Division

Attachment

i M ical Directors
6 sreetne Nursing of Adult Institutions

Wendy ‘Eeich r
Health are Managers

Cara Appeals; Coordinators
Inmate Appéals Coordinators:
Case 2:90-cv-00520-KJM-SCR Document 3042-6 Filed 09/16/08 Page 4of5

STATE-OF CALIFORNIA ‘DEPARTMENT OF CORRECTIONS AND RERABIL
OLEE HEALTH: CARE PRISON HEALTH GARE:
\PPEAL FORM set
-GDCR 602-HC (6/08): Oo Oe a Sidek:
‘Cocation: ‘Institution/Parcle Region. Log? Category:
2 2.

A, ‘Describe Problem:

inal aie i _ _ sp pike . __.... Date: Submitted:
‘gia Fasponee:.

2. FORM MAL, LEVEL

tafad, explain below, attach supporting documenta: (Health: Gare Service Request’ Form,,GOG: 7962, Comprehensive. Acct
STs Ressunt Blatonent: etc.) arid submit for prosessing to ihe’ Maalth Care. Appeals Coordinator at:your location within

‘Signatiire::

CDCR Appeal Nutnber

Case 2:90-cv-00520-KJM-SCR Document 3042-6 Filed OO oma _ Page 5 of 5—

STATE. OF-CALIFORNIA:
INMATE/PAROLEE HEALTH CARE
APPEAL FORM

‘OCR 602-HC (6/08)

FIRSTLEVEL: Ci-Grented  (PGrntd  Cloenled  Clotter_

£: REVIEWER'S. ACTION (Complete with 15-working days)! Date assigned: nent Bue Dates

Interviewed: by:

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Division: HeadApproval;
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responses:

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within 15.days of recel

‘Signature: __ ee ___ .__ Date Submitted:

SECOND LEVEL; ‘CiGranted CIP. Grated. «= Devied «= tar:
G,. REVIEWER'S ACTION ‘(Complete with 10 working days): Date ‘abelgned:, - __.. Oye Date:
[See Attached Letter

‘Signature: _ ___ s «Date Subinitted:

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“DIRECTOR'S A ACNON: CIGented (1P.Granee — CJDenied Cl oiner
Cl SeeAttached. Letter

Date:

